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                      UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

  IN RE: Robert C. Rousseau                 :      Chapter 13
                                            :
                                            :
                              Debtor        :      No.:    24-11822-djb


                              ENTRY OF APPEARANCE


  TO THE CLERK OF THE BANKRUPCTY COURT:

        Kindly enter my appearance as attorney for Debtor, Robert C. Rousseau.



                                                   Respectfully submitted,


                                                   /s/William D. Schroeder, Jr.
                                                   Attorney for Debtor,
                                                   Robert C. Rousseau
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